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 5
     WALDO PEREZ-MENDOZA
 6

 7

 8                               UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                        Case No.: 2:11-CR-076 JAM

13                 Plaintiff,

14   vs.                                              STIPULATION AND ORDER
                                                      CONTINUING TRIAL CONFIRMATIN
15
     WALDO PEREZ-MENDOZA,                             HEARING
16                                                    Date:       March 10, 2015
                   Defendant.
17                                                    Time:       9:15 a.m.
                                                      Court:      Hon. John A. Mendez
18

19

20

21          This matter is presently set for a Trial Confirmation Hearing before the Court on
22
     February 24, 2015. A jury trial is scheduled to commence on April 13, 2015. The parties to this
23
     action, Plaintiff United States of America by and through Assistant United States Attorney
24

25   Samuel Wong, and Defendant Waldo Perez-Mendez by and through his attorney Todd D. Leras,

26   request that the Court continue the Trial Confirmation Hearing to March 10, 2015, at 9:15 a.m.
27
     ORDER CONTINUING TRIAL
28   CONFIRMATION HEARING
              Case 2:11-cr-00076-JAM Document 175 Filed 02/20/15 Page 2 of 3


 1          The parties have negotiated a proposed resolution of the matter that needs to be
 2
     incorporated into a written plea agreement. Mr. Perez-Mendoza requires the services of a
 3
     Spanish language interpreter. The additional time is needed to review the terms of the pending
 4
     written plea agreement and to prepare Mr. Perez-Mendoza for a possible change of plea hearing.
 5

 6   An exclusion of time for the period required to bring the matter to trial under the Speedy Trial

 7   Act has previously been requested by the parties and approved by the Court up to and including
 8
     April 13, 2015. The requested continuance of the Trial Confirmation Hearing therefore serves
 9
     the purpose of judicial economy by potentially eliminating the need for a jury trial without
10
     requiring an additional basis for excluding time under the Speedy Trial Act.
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12          For the reasons stated in the preceding paragraph, the parties request to continue the Trial

13   Confirmation Hearing for two weeks to March 10, 2015. Assistant U.S. Attorney Samuel Wong
14
     has reviewed this proposed order and authorized Todd Leras to sign it on his behalf.
15

16
     DATED: February 19, 2015
17
                                                          By      Todd D. Leras for
18                                                                SAMUEL WONG
                                                                  Assistant United States Attorney
19   DATED: February 19, 2015
                                                          By      /s/ Todd D. Leras
20
                                                                  TODD D. LERAS
21                                                                Attorney for Defendant
                                                                  WALDO PEREZ-MENDOZA
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27
     ORDER CONTINUING TRIAL
28   CONFIRMATION HEARING
              Case 2:11-cr-00076-JAM Document 175 Filed 02/20/15 Page 3 of 3


 1                                               ORDER
 2
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the Trial Confirmation Hearing in this matter scheduled for February 24,
 4
     2015, is vacated. A Trial Confirmation Hearing/Possible Change of Plea Hearing is scheduled
 5

 6   for March 10, 2015, at 9:15 a.m. Time has previously been excluded under the Speedy Trial Act,

 7   18 U.S.C. § 3161(h)(7)(B)(4) and Local Code T-4, to allow necessary attorney preparation
 8
     taking into consideration the exercise of due diligence for the period up to and including April
 9
     13, 2015.
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11

12   DATED: February 2/20/20152015

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14
                                                     /s/ John A. Mendez
15                                                   HONORABLE JOHN A. MENDEZ
                                                     UNITED STATES DISTRICT COURT
16                                                   JUDGE
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     ORDER CONTINUING TRIAL
28   CONFIRMATION HEARING
